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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Civil Action No. 05-cv-02533-EWN-MJW
THOMAS MONTOYA,
Plaintiff,
Vv.
BOARD OF COUNTY COMMISSIONERS, CHAFFEE COUNTY, COLORADO,
CHAFFEE COUNTY SHERIFF TIMOTHY WALKER,
CHAFFEE COUNTY DEPUTY SHERIFF SCOTT GLENN,
DAVID PLATT,
BOARD OF COUNTY COMMISSIONERS, PARK COUNTY, COLORADO,
PARK COUNTY SHERIFF FRED WEGENER,

Defendants.

 

ORDER GRANTING UNOPPOSED MOTION TO VACATE
SETTLEMENT CONFERENCE
C Doctis Pe 76 )
The Court, having reviewed defendants’ Unopposed Motion to Vacate the Settlement

Conference of December 1, 2006, being duly advised in the premises, and for good cause shown,

DOES HEREBY grant the motion. The Settlement Conference currently set for December 1,
2006, at 10:00 a.m. is vacated. The fact ‘= m ay i& b ert

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DONE ON THIS - | DAY OF November, 2006. Cort te L wre 4
By the Court:

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Michael J. Watatdbe
United States Magistrate Judge

 
